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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


APPLIED MATERIALS, INC.,

                           Plaintiff,

             v.                                                      No. 14-CV-1346
                                                                     (GTS/CFH)
TERRY BURKS,

                           Defendant.


CHRISTIAN F. HUMMEL
U.S. MAGISTRATE JUDGE

                                         ORDER

      By letter dated December 22, 2014, the attorneys for the non-party, Chad Fitchner,

requested that the Court schedule a discovery conference. Dkt. No. 19. By letter dated

December 22, 2014, plaintiff also requested that a discovery conference be scheduled. Dkt.

No. 21.

      On December 29, 2014, the attorneys for the non-party Westerwood Global USA LLC

filed a letter requesting that a conference be scheduled to address a subpoena purportedly

served on Westerwood Global USA LLC. Dkt. No. 24. On December 30, 3014, this Court

issued a Text Order scheduling a discovery conference for January 20, 2015. Dkt. No. 25.

      On January 14, 2015, the non-party Westerwood Global USA LLC filed a letter

addressing certain discovery-related issues. Dkt. No. 32. By letter dated January 16, 2015,

plaintiff addressed the discovery issues to be considered by the Court at the January 21, 2015

discovery conference. Dkt. No. 35.

      By letter dated January 22, 2015, the attorney for the non-party Westerwood Global USA
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LLC addressed the issue of the confidential files of the non-party Lam Research Corporation

in plaintiff’s possession. Dkt. No. 36. On January 22, 2015, plaintiff filed a letter addressing

the issue of the files of the non-party Lam Research Corporation.

       A discovery conference was conducted on the record on January 20, 2015 with counsel

for all parties, as well as counsel for non-parties Chad Fitchner and Westerwood Global USA

LLC. A second discovery conference was conducted on the record on January 23, 2015 with

counsel for all parties and counsel for the non-parties Chad Fitchner and Westerwood Global

USA LLC. As directed during those conferences, and for the reasons stated on the record,

which are incorporated herein by reference, it is hereby ORDERED:

       (1) That the Rule 16 conference shall proceed as scheduled on February 3, 2015;

       (2) The deposition of the non-party Chad Fitchner shall be conducted on or before

       March 13, 2015. The attorneys shall confer and agree on what documents, if any, shall

       be produced by Chad Fitchner at that time;

       (3) The deposition of a representative of the non-party Westerwood Global USA LLC

       shall be conducted on or before March 13, 2015. The attorneys shall confer and agree

       on what documents will be produced at that time;

       (4) Defendant is granted leave to file a motion to dismiss on or before February 2, 2015.

       The response shall be filed by February 23, 2015. Defendant’s reply shall be filed by

       February 27, 2015. The return date of that motion is March 5, 2015 on submission;

       (5) The non-party Westerwood Global USA LLC is granted leave to file a motion seeking

       a protective order and the return of a Westerwood Global USA LLC-owned Lenovo

       laptop computer currently in the possession of plaintiff or its agents. The non-party



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      Westerwood Global USA LLC shall file such motion by February 2, 2015.             The

      response shall be filed by February 23, 2015. The return date of that motion is March

      5, 2015 on submission. The plaintiff may not conduct any further discovery on that

      Lenovo laptop computer pending further Court order;

      (6) Plaintiff may transmit to the non-party Lam Research Corporation any confidential

      proprietary files belonging to Lam Research Corporation which were discovered by

      plaintiff on the Westerwood Global USA LLC-owned Lenovo laptop computer. Plaintiff

      shall provide a list of such files to defendant and the non-party Westerwood Global USA

      LLC, as well as the meta data.

IT IS SO ORDERED.

Date: January 23, 2015
       Albany, New York




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